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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

       UNITED STATES OF AMERICA,

       Plaintiff,
       v.                                             Case No. 6:22-CV-00028-NKM

       ENVIGO RMS, LLC,

       Defendant.



                                 MOTION FOR CLARIFICATION

       The United States respectfully files this motion for clarification. On May 21, 2022, this

Court issued an Order granting the United States’ Ex Parte Motion for Temporary Restraining

Order. ECF No. 3. The Court’s Order mentions 7 U.S.C. § 2159. Id. at 17-19. That provision

of the Animal Welfare Act contemplates a statutorily-authorized injunction in district court to

accompany an administrative action filed by the Secretary of Agriculture under 7 U.S.C. § 2149.

See 7 U.S.C. § 2159(b) (“Such injunction or order shall remain in effect until a complaint

pursuant to section 2149 of this title is issued and dismissed by the Secretary or until an order to

cease and desist made thereon by the Secretary has become final and effective or is set aside on

appellate review.”). The Secretary has filed no such administrative action. And the United States

moved for injunctive relief “pursuant to 7 U.S.C. § 2146(c) and/or the Court’s inherent equitable

authority under Federal Rule of Civil Procedure 65(b)(1).” See ECF No. 2 at 2. The Court’s

Order engaged in the analysis to issue an injunction under these provisions, hence, the United

States assumes that the Court’s Order is issued “pursuant to 7 U.S.C. § 2146(c) and/or the

Court’s inherent equitable authority under Federal Rule of Civil Procedure 65(b)(1).” See 7

U.S.C. § 2146(c) (“The United States district courts . . . are vested with jurisdiction specifically



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to enforce, and to prevent and restrain violations of this chapter, and shall have jurisdiction in all

other kinds of cases arising under this chapter” except as provided in one provision not

applicable in this case). Out of an abundance of caution, the United States moves for

clarification. 1

Respectfully Submitted,

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                                                       Environment & Natural Resources Division

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1The United States has served Envigo RMS with the Court’s Order and has alerted Defendant’s
counsel to this motion for clarification. Undersigned counsel shall serve Defendant with this
motion upon filing.


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                                CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system. The foregoing will also be served on Defendant Envigo RMS.

DATE: May 21, 2022

                                                                     /s/ Mary Hollingsworth
                                                                     MARY HOLLINGSWORTH




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